          Case 2:21-cv-01617-PD Document 58 Filed 08/17/23 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER BEATY, JR. and            :
NICHOLE GARCIA,                       :
as Co-Administrators of the Estate of :
CHRISTOPHER DAVID BEATY, deceased, :
and in their own right,               :
                     Plaintiffs,      :
                                      :
           v.                         :                          Civ. No. 21-1617
                                      :
DELAWARE COUNTY d/b/a                 :
FAIR ACRES GERIATRIC CENTER,          :
                     Defendant.       :

                                         ORDER

       AND NOW, this 17th day of August, 2023, it having been reported that the issues

between the parties in the above action have been settled and upon Order of the Court pursuant

to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it is

ORDERED that the above action is DISMISSED with prejudice.




                                                         AND IT IS SO ORDERED.

                                                         /s/ Paul S. Diamond
                                                         _____________________
                                                         Paul S. Diamond
